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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY

James J. Vilt, Jr., Clerk of Court                                   Gene Snyder Courthouse
502.625.3508                                                         601 W. Broadway
                                                                     Louisville, Kentucky, 40202
August 20, 2021

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                 In Re: Bowling v. 3M Company (3:16-cv-00135)

Dear Counsel:

I have been contacted by Judge Thomas B. Russell who presided over the above-referenced case.
Judge Russell has informed me that it has been brought to his attention that while he presided
over this case, he owned stock in 3M Company.

This stock was purchased in the context of Judge Russell’s participation in an investment club
partnership and, unbeknownst to Judge Russell, was inadvertently not included in the Clerk’s
Office’s conflict screening software at the time this matter was assigned to him. As you are
aware, this case was transferred to the U.S. District Court for the District of Minnesota by the
United States Judicial Panel on Multidistrict Litigation on April 15, 2016.

While Judge Russell’s ownership of stock had no impact on the outcome in this matter, his stock
ownership would have required recusal under the Code of Conduct for United States Judges, and
thus, Judge Russell directed me to notify the parties of the conflict.
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Advisory Opinion 71, from the Judicial Conference Codes of Conduct Committee, provides the
following guidance for addressing disqualification that is not discovered until after a judge has
participated in a case:

       [A]judge should disclose to the parties the facts bearing on disqualification as
       soon as those facts are learned, even though that may occur after entry of the
       decision. The parties may then determine what relief they may seek and a court
       (without the disqualified judge) will decide the legal consequence, if any, arising
       from the participation of the disqualified judge in the entered decision.

        Although Advisory Opinion 71 contemplated disqualification after a Court of Appeals
oral argument, the Committee explained “[s]imilar considerations would apply when a judgment
was entered in a district court by a judge and it is later learned that the judge was disqualified.”
With Advisory Opinion 71 in mind, you are invited to respond to Judge Russell’s disclosure of a
conflict in this case. Should you wish to respond, please submit your response on or before
September 20, 2021. Any response will be considered by the Chief Judge of this court without
the participation of Judge Russell.

                                                             Sincerely,

                                                             /s/ James    J. Vilt. Jr.
                                                             James J. Vilt, Jr.
                                                             Clerk of Court
